                                      Case No. 1:17-cr-00168-CMA                  Document 128-1              filed 07/03/20          USDC Colorado         pg
6/29/2020                                                                                      1 offor1Severe Illness | Coronavirus | COVID-19 | CDC
                                                                      People Who Are at Higher Risk




                                                                                                                                                                    EXHIBIT A

      Coronavirus Disease 2019 (COVID-19)

     People of Any Age with Underlying Medical Conditions
     Updated June 25, 2020                                                                   Print Page




        Summary of Recent Changes

        Revisions were made on June 25, 2020 to re ect available data as of May 29, 2020. We are learning more about COVID-19
        every day, and as new information becomes available, CDC will update the information below.


     People of any age with certain underlying medical conditions are at increased risk for severe illness from COVID-19:


     People of any age with the following conditions are at increased risk of severe illness from COVID-19:

              Chronic kidney disease
              COPD (chronic obstructive pulmonary disease)
              Immunocompromised state (weakened immune system) from solid organ transplant
              Obesity (body mass index [BMI] of 30 or higher)
              Serious heart conditions, such as heart failure, coronary artery disease, or cardiomyopathies
              Sickle cell disease
              Type 2 diabetes mellitus


            Children who are medically complex, who have neurologic, genetic, metabolic conditions, or who have congenital heart
            disease are at higher risk for severe illness from COVID-19 than other children.


     COVID-19 is a new disease. Currently there are limited data and information about the impact of underlying medical
     conditions and whether they increase the risk for severe illness from COVID-19. Based on what we know at this time, people
     with the following conditions might be at an increased risk for severe illness from COVID-19:

              Asthma (moderate-to-severe)
              Cerebrovascular disease (a ects blood vessels and blood supply to the brain)
              Cystic brosis
              Hypertension or high blood pressure
              Immunocompromised state (weakened immune system) from blood or bone marrow transplant, immune de ciencies,
              HIV, use of corticosteroids, or use of other immune weakening medicines
              Neurologic conditions, such as dementia
              Liver disease
              Pregnancy
              Pulmonary brosis (having damaged or scarred lung tissues)
              Smoking
              Thalassemia (a type of blood disorder)
              Type 1 diabetes mellitus

     Want to see the evidence behind these lists?



            The list of underlying conditions is meant to inform clinicians to help them provide the best care possible for patients,

https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-conditions.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F2019-ncov%2Fneed-extra-precaution…   1/10
